Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 1 of 40            FILED
                                                                2017 Mar-28 PM 04:52
                                                                U.S. DISTRICT COURT
                                                                    N.D. OF ALABAMA
         Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 2 of 40



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ALABAMA
                              WESTERN DIVISION

TRANSAMERICAN EQUIPMENT      )
COMPANY, LLC                 )
                             )
      Plaintiff,             )
                             )
v.                           )                      Case No. ___________________
                             )
INDUSTRIAL ASSETS CORP.,     )
MAYNARDS INDUSTRIES USA LLC, )
and UTICA LEASECO, LLC       )
      Defendants.            )

                                  NOTICE OF REMOVAL

       Come now the Defendants, Industrial Assets Corp. (“IAC”), Maynards Industries USA

LLC (“Maynards”) and Utica Leaseco LLC (“Utica”) and pursuant to the provisions of 28

U.S.C. §§ 1332, 1441, and 1446, hereby give notice of their removal of this action from the

Circuit Court of Tuscaloosa County, Alabama, Case Number CV 2017-900196, to the United

States District Court for the Northern District of Alabama, Western Division. The grounds for

this removal are as follows:

1.     Plaintiff served the Summons and Complaint in the above referenced action to Maynards

February 27, 2017, to IAC February 28, 2017, and to Utica March 7, 2017.         The Complaint

contains allegations of fraudulent suppression, fraud, conspiracy, breach of contract, violations

of the North Carolina Deceptive Trade Practices Act and violations of the North Carolina

Auctioneer Statute related to a December 1, 2016 equipment auction that was held in Enka,

North Carolina. Plaintiff purchased equipment constituting the Basofil production line at the

auction. The complaint alleges that Maynards was the auctioneer, Utica was the seller, and IAC

acted in concert with Utica to sell equipment and collect funds from Plaintiff. (In fact, IAC was



                                                1
             Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 3 of 40



working together with Maynards as the auctioneer on behalf of Utica). The Complaint further

alleges that the price of the equipment was artificially inflated as a result of bidding that was

done on behalf of Utica. Plaintiff contends that it is entitled to damages including, but not

limited to, the difference in the amount of the bid price for the equipment and the last bid price

for which bidding by Utica was not involved, punitive damages, legal fees, and other costs.

2.        Plaintiff made an initial bid of $150,000 at the auction. Utica then bid $152,500. After a

series of bids, Plaintiff ultimately placed a winning bid of $265,000. Exhibit 1, Affidavit of

Steven R. Mattes.1 Under Plaintiff’s theory of damages, it would be entitled to recover $115,000

in compensatory damages, plus punitive damages and attorneys’ fees. Thus, the $75,000 amount

in controversy requirement of 28 U.S.C. §1332 is satisfied.

3.        Plaintiff and Defendants are citizens of different states and no defendant is a citizen of

Alabama. Maynards is a Delaware limited liability company with its principal place of business

in Michigan. Utica is a Florida limited liability company with its principal place of business in

Michigan. IAC is a California business corporation with its principal place of business in

California. Plaintiff is an Alabama Limited Liability Company with its principal place of

business in Alabama. Therefore, diversity of citizenship requirement of 28 U.S.C. §1332 is

satisfied.

4.        Copies of the Complaint and the Summons and all other pleadings, process and orders

served upon Defendants are attached as Exhibit 2 hereto.

5.        Contemporaneous with the filing of this Notice, Defendants are providing Notice to the

State Court of the removal of this action.




1   The undersigned certifies that he will maintain the original of the Affidavit of Steven R. Mattes.
                                                   2
            Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 4 of 40



          WHEREFORE, Defendants request that this Court take jurisdiction over this cause, issue

all necessary orders and judgments, and for such further relief as may be appropriate.

                                                /s/ James E. Fleenor, Jr.
                                                Attorney for Defendants Industrial Assets Corp.,
                                                Maynards Industries USA LLC, and Utica Leaseco
                                                LLC

OF COUNSEL:

James E. Fleenor, Jr.
Wilson F. Green
Fleenor & Green LLP
1657 McFarland Blvd.N
Suite G2A
Tuscaloosa, Alabama 35406
(205) 722-1017 (Fleenor)
(205)722-1018 (Green)
jfleenor@fleenorgreen.com
wgreen@fleenorgreen.com
                                   CERTIFICATE OF SERVICE

          I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

the CM/ECF system and service will be perfected upon the following via e-mail on the date of

filing:

Mr. James S. Ward
Ward & Wilson, LLC
2100A Southbridge Parkway
Suite 580
Birmingham, Alabama 35209
jward@wardwilsonlaw.com

                                                        s/ James E. Fleenor, Jr.
                                                        Of Counsel




                                                   3
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                       EXHIBIT 1
Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 6 of 40
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                       EXHIBIT A
Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 9 of 40
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Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 12 of 40




                        EXHIBIT 2
                                                         DOCUMENT 1
                                                                                                            ELECTRONICALLY FILED
                    Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 13 of 40 4:07 PM
                                                                             2/17/2017
                                                                                                               63-CV-2017-900196.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                            COVER SHEET                                              TUSCALOOSA COUNTY, ALABAMA
Unified Judicial System
                                      CIRCUIT COURT - CIVIL CASE                             63-CV-2017-900196.00
                                                                                                 MAGARIA HAMNER BOBO, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev.5/99
                                                                                             02/17/2017

                                                GENERAL INFORMATION
                         IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA
                 TRANSAMERICAN EQUIPMENT COMPANY, LLC v. INDUSTRIAL ASSETS CORP. ET AL

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way
     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court
     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure
     TOLM - Malpractice-Legal                                TOCN - Conversion
     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
     TBFM - Fraud/Bad Faith/Misrepresentation                       Injunction Election Contest/Quiet Title/Sale For Division

     TOXX - Other:                                           CVUD - Eviction Appeal/Unlawful Detainer
                                                             FORJ - Foreign Judgment
TORTS: PERSONAL INJURY                                       FORF - Fruits of Crime Forfeiture
     TOPE - Personal Property                                MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TORE - Real Properly                                    PFAB - Protection From Abuse
                                                             FELA - Railroad/Seaman (FELA)
OTHER CIVIL FILINGS
                                                             RPRO - Real Property
     ABAN - Abandoned Automobile
                                                             WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ACCT - Account & Nonmortgage
                                                             COMP - Workers’ Compensation
     APAA - Administrative Agency Appeal
                                                             CVXX - Miscellaneous Circuit Civil Case
     ADPA - Administrative Procedure Act
     ANPS - Adults in Need of Protective Service

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                     MONETARY AWARD REQUESTED                     NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
       WAR006                                   2/17/2017 4:07:40 PM                                    /s/ JAMES S. WARD
                                            Date                                              Signature of Attorney/Party filing this form



MEDIATION REQUESTED:                            YES    NO      UNDECIDED
                         DOCUMENT 10
Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 14 of 40
                         DOCUMENT 10
Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 15 of 40
             Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 16 of 40


                                        AlaFile E-Notice




                                                                             63-CV-2017-900196.00
                                                                     Judge: M. BRADLEY ALMOND
To: WARD JAMES STEVEN
    jward@wardwilsonlaw.com




                              NOTICE OF SERVICE
                  IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

        TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                                63-CV-2017-900196.00

                              The following matter was served on 2/28/2017

                                   D001 INDUSTRIAL ASSETS CORP.
                                           Corresponding To
                                           CERTIFIED MAIL




                                                                     MAGARIA HAMNER BOBO
                                                                       CIRCUIT COURT CLERK
                                                               TUSCALOOSA COUNTY, ALABAMA
                                                                    714 GREENSBORO AVENUE
                                                                       TUSCALOOSA, AL, 35401

                                                                                    205-349-3870
                                                                        magaria.bobo@alacourt.gov
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         Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 17 of 40 4:07 PM
                                                                  2/17/2017
                                                                              63-CV-2017-900196.00
                                                                               CIRCUIT COURT OF
                                                                         TUSCALOOSA COUNTY, ALABAMA
                                                                         MAGARIA HAMNER BOBO, CLERK

             IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

Transamerican Equipment                       )
Company, LLC,                                 )
                                              )
Plaintiff,                                    )
                                              )
       v.                                     )       Case No:
                                              )
Industrial Assets Corp.,                      )
Maynards Industries USA LLC, and              )
Utica Leaseco, LLC,                           )
                                              )
Defendants                                    )

                                          COMPLAINT

       COMES NOW, Transamerican Equipment Company, LLC (“Plaintiff”) and for its

Complaint against Defendants states as follows:

                       THE PARTIES, JURISDICTION, AND VENUE

1.     Plaintiff is a Limited Liability Company organized and existing under the laws of the

State of Alabama with its principal place of business in Tuscaloosa County, Alabama.

2.     Upon information and belief, Industrial Assets Corp. is a California business corporation

with its principal place of business in California (“IAC”).

3.     Upon information and belief, Maynards Industries USA LLC is a Delaware limited

liability company with its principal place of business in Delaware (“Maynards”).

4.     Upon information and belief, Utica Leaseco, LLC is a Michigan Limited Liability

company with its principal place of business in Michigan (“Utica,” together with IAC and

Maynards, the “Defendants”).

5.     This Court has jurisdiction over this matter, and venue is proper in Tuscaloosa County,

Alabama.



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                                         DOCUMENT 2
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                                         THE FACTS

6.     On December 1, 2016, an auction was held to sell equipment constituting the Basofil

production line (the “Goods”) located in Enka, North Carolina (the “Auction”).

7.     Maynards was the auctioneer of the Auction.

8.     Utica was the seller and owner of the Goods.

9.     Upon information and belief, IAC was acting in concert with Utica in the sale of the

Goods and the collection of purchase funds from Plaintiff.

10.    The Goods were sold by their owner and not by a creditor in a forced sale.

11.    The Auction was governed solely by the terms and conditions set forth at the URL:

https://www.bidspotter.com/en-us/auction-catalogues/www-maynards-com/catalogue-id-

biditu10119/terms-and-conditions#terms (the “Terms”).

12.    Bidders at the Auction were able to access the Auction through a variety of bidding

platforms, including Biditup and Bidspotter.

13.    Plaintiff accessed and bid in the Auction through the Bidspotter platform from its office

in Tuscaloosa, Alabama. Defendants purposely availed themselves of buyers in Alabama,

including Plaintiff, by advertising the Auction in Alabama, making the Auction available to

Plaintiff in Alabama, and directing correspondence regarding the Auction and the Goods to

Plaintiff in Alabama.

14.    The only contractual terms that Plaintiff agreed to in connection with the auction were the

Terms, Bidspotters’ website Terms and Conditions set forth at: https://www.bidspotter.com/en-

us/about-us/legal/website-terms-and-conditions (the “Bidspotter T&C”), and Bidspotter’s Bidder

Terms and Conditions set forth at: https://www.bidspotter.com/en-us/about-us/legal/bidder-

terms-and-conditions (the “Bidspotter Bidder Terms”).



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15.      The Auction was advertised in a brochure published at: http://www.biditup.com/db-

files/1478020338-339133.pdf (the “Brochure”).

16.      During the Auction, Plaintiff’s agents noticed irregular activity in the bidding process.

Specifically, it appeared as though the owner of the Goods might be secretly bidding to push up

their price.

17.      Plaintiff never agreed to or was aware of any terms from Maynards other than the Terms

and those set forth in the Brochure. Neither the Brochure nor any of the terms applicable to the

Auction disclosed that the Auction had a reserve.

18.      Plaintiff never agreed to or was aware of any contractual terms from Biditup.com or any

other source other than the Terms, the Brochure, the Bidspotter T&C, and the Bidspotter Bidder

Terms.

19.      In the week after the Auction, Plaintiff contacted Maynards to facilitate payment and a

schedule for removal of the Goods. Plaintiff also expressed concern to Maynards that removing

the Goods could trigger a release of environmental contaminants, and requested cooperation in

removal to remedy that concern.

20.      Beginning on December 8, 2016, Maynards, Utica, and IAC began sending fraudulent

correspondence to Plaintiff asserting that Plaintiff had agreed to onerous terms and conditions

that Plaintiff had never seen or agreed to. Maynards, Utica, and IAC began threatening litigation

by consent judgment (a term Plaintiff never agreed to) to be filed in Burbank, California if

Plaintiff did not immediately pay for the winning bid plus commission from the Auction and

agree to an unrealistic removal schedule.

21.      After weeks of negotiation and renewed threats of litigation, Maynards and Utica finally

agreed to provide access to the Goods and a somewhat reasonable removal schedule and



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                                           DOCUMENT 2
         Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 20 of 40



cooperate in addressing environmental concerns. While discussing these matters, Maynards

admitted to having entered shill bids on behalf of Utica in order to drive up the price of the

Goods without disclosing the same to bidders at the Auction.

26.    Despite the unlawful shill bidding by Maynards that artificially inflated the price of the

Goods, Plaintiff closed the purchase of the Goods by wiring funds to Maynards on February 10,

2017 under persistent threats of litigation by Defendants.

                       COUNT ONE – FRAUDULENT SUPPRESSION

27.    Plaintiff realleges the foregoing allegations as if fully restated herein.

28.    Based on the facts and circumstances of this particular case, the trust and reliance

Plaintiff had to repose on Maynards and Utica, and the superior and virtually exclusive

knowledge of Maynards and Utica, and the fact that a reserve was never disclosed in connection

with the Auction; Maynards and Utica had a duty to disclose to Plaintiff their true intent to bid

up the price of the Goods at the Auction to artificially increase the final price Plaintiff had to

pay.

29.    Maynards and Utica suppressed and failed to disclose these facts and intentions.

30.    Without the benefit of the suppressed information, the Plaintiff reasonably acted to its

detriment by bidding at the Auction and contractually obligating itself.

31.    Plaintiff has suffered damages as a result of Maynards’ and Utica’s actions, including but

not limited to, the difference in the amount of the bid price for the Goods and the last bid price

for which shill bidding was not involved, legal fees, and other costs.

WHEREFORE, Plaintiff demands judgment against Maynards and Utica for actual damages,

punitive damages, costs, interest, and such other relief as this court deems just and proper.




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                                              DOCUMENT 2
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                 COUNT TWO –FRAUD AND FRAUDULENT INDUCEMENT

32.       Plaintiff realleges the foregoing allegations as if fully restated herein.

33.       Maynards, Utica, and IAC did not advertise the Auction as having a reserve, but planned

to use false bidders to drive up the cost of the Goods.

34.       Maynards, Utica, and IAC advertised the Auction as not having a reserve in order to

induce prospective bidders. This no-reserve advertising was false; and intentionally, recklessly,

or negligently made.

35.       IAC in concert with Utica represented to Plaintiff that certain terms governed the

Auction, such as a “consent judgment” provision with venue in Burbank, California, in order to

coerce Plaintiff into closing a transaction that involved fraudulent bidding.

36.       Plaintiff reasonably relied upon Maynards, Utica, and IAC’s advertising and

representations.

36.       Maynards, Utica, and IAC knew or should have known that the Auction was going to

utilize secret and false bidders to drive up the price of the Goods, and that certain auction terms

including a “consent judgment” provision did not exist.

37.       Plaintiff has been damaged by Defendants’ advertising and representations.

WHEREFORE, Plaintiff demands judgment against Maynards, IAC, and Utica for actual

damages, punitive damages, costs, interest, and such other relief as this court deems just and

proper.

                                 COUNT THREE – CONSPIRACY

38.       Plaintiff realleges the foregoing allegations as if fully restated herein.

39.       Defendants acted in concert to accomplish the tortious and unlawful aims set forth herein.




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                                            DOCUMENT 2
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WHEREFORE, Plaintiff demands judgment against Maynards, IAC, and Utica for damages,

costs, interest, and such other relief as this court deems just and proper.

  COUNT FOUR – VIOLATION OF NORTH CAROLINA AUCTIONEER STATUTE

40.    Plaintiff realleges the foregoing allegations as if fully restated herein.

41.    Chapter 85B, Section 8 of the North Carolina General Statutes prohibits certain acts,

making the commission of each a crime: “(4) Any false, misleading, or untruthful advertising.

(5) Any act of conduct in connection with a sales transaction which demonstrates bad faith or

dishonesty. (6) Knowingly using false bidders, cappers or pullers, or knowingly making a

material false statement or representation.”

42.    Maynard conducted the Auction unlawfully at Utica’s direction by: (a) making false

statements regarding the absence of a reserve, (b) conducting the sale in bad faith by insisting on

an unachievable removal schedule, (c) asserting that inapplicable terms applied to the sale of the

Goods, (d) using false bidders to bid up the cost of the Goods, and (e) failing to disclose the use

of false bidders bidding on behalf of Utica to drive up the cost of the Goods.

43.    Chapter 85B, Section 8 of the North Carolina General Statutes supply a standard of care

that Defendants violated.

44.    Plaintiff has been damaged by Defendants’ violations, which were the proximate cause of

Plaintiff’s damages.

WHEREFORE, Plaintiff demands judgment against Maynards for damages, costs, interest, and

such other relief as this court deems just and proper.

                            COUNT SIX – BREACH OF CONTRACT

45.    Plaintiff realleges the foregoing allegations as if fully restated herein.




                                                  6
                                            DOCUMENT 2
         Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 23 of 40



46.    Plaintiff and Maynards entered into a contract whereby Maynards was to conduct an

auction for the sale of the Goods according to reasonable commercial standards.

47.     Plaintiff has performed all of its obligations under the contract.

48.     Maynards breached the contract by conducting the Auction with false bidders acting on

behalf of Utica.

49.    Plaintiff was damaged as a result of said breach.

WHEREFORE, Plaintiff demands judgment against Maynards for damages, costs, and such

other relief as this court deems just.

                    COUNT SEVEN – VIOLATION OF NORTH CAROLINA

                            DECEPTIVE TRADE PRACTICES ACT

50.     Plaintiff realleges the foregoing allegations as if fully restated herein.

51.    Defendants’ concerted activity of using false bidders to drive up the price of the Goods at

the Auction is an unfair and/or deceptive trade practice pursuant to North Carolina Generate

Statute § 75-1.1.

52.    Defendants’ actions in using false bidders to artificially drive up the price of the Goods at

the Auction affected commerce.

53.    Plaintiff has been damaged by Defendants’ concerted actions.

WHEREFORE, Plaintiff demands judgment against Maynards, IAC, and Utica for damages

including statutory and punitive damages, costs, attorneys’ fees, and such other relief as this

court deems just.

                                                        Respectfully submitted,

                                                        /s James S. Ward
                                                        JAMES S. WARD (WAR006)
                                                        Attorney for Transamerican Equipment
                                                        Company, LLC

                                                   7
                                 DOCUMENT 2
        Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 24 of 40



OF COUNSEL:
James S. Ward
WARD & WILSON, L.L.C.
2100A Southbridge Parkway
Suite 580
Birmingham, Alabama 35209
Tel: 205/871-5404
Fax: 205/871-5758
jward@wardwilsonlaw.com



DEFENDANTS TO BE SERVED VIA CERTIFIED MAIL

Industrial Assets Corp.
11426 VENTURA BLVD 2ND FLR
STUDIO CITY CA 91604

Maynards Industries USA LLC
Corporation Trust Center
1209 Orange Street
Wilmington, DE, 19801

Utica Leaseco, LLC
44225 UTICA RD
UTICA, MI 48317




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                                              DOCUMENT 3
              Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 25 of 40


                                        AlaFile E-Notice




                                                                          63-CV-2017-900196.00


To: JAMES S. WARD
    jward@wardwilsonlaw.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

        TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                                63-CV-2017-900196.00

                       The following complaint was FILED on 2/17/2017 4:07:48 PM




     Notice Date:    2/17/2017 4:07:48 PM




                                                                    MAGARIA HAMNER BOBO
                                                                      CIRCUIT COURT CLERK
                                                              TUSCALOOSA COUNTY, ALABAMA
                                                                   714 GREENSBORO AVENUE
                                                                      TUSCALOOSA, AL, 35401

                                                                                   205-349-3870
                                                                       magaria.bobo@alacourt.gov
                                             DOCUMENT 3
             Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 26 of 40


                                       AlaFile E-Notice




                                                                         63-CV-2017-900196.00


To: INDUSTRIAL ASSETS CORP.
    11426 VENTURA BLVD 2ND FL
    STUDIO CITY, CA, 91604




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

       TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                               63-CV-2017-900196.00

                      The following complaint was FILED on 2/17/2017 4:07:48 PM




    Notice Date:    2/17/2017 4:07:48 PM




                                                                   MAGARIA HAMNER BOBO
                                                                     CIRCUIT COURT CLERK
                                                             TUSCALOOSA COUNTY, ALABAMA
                                                                  714 GREENSBORO AVENUE
                                                                     TUSCALOOSA, AL, 35401

                                                                                  205-349-3870
                                                                      magaria.bobo@alacourt.gov
                                             DOCUMENT 3
             Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 27 of 40


                                       AlaFile E-Notice




                                                                         63-CV-2017-900196.00


To: MAYNARDS INDUSTRIES USA LLC
    CORPORATION TRUST CENTER
    1209 ORANGE STREET
    WILMINGTON, DE, 19801




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

       TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                               63-CV-2017-900196.00

                      The following complaint was FILED on 2/17/2017 4:07:48 PM




    Notice Date:    2/17/2017 4:07:48 PM




                                                                   MAGARIA HAMNER BOBO
                                                                     CIRCUIT COURT CLERK
                                                             TUSCALOOSA COUNTY, ALABAMA
                                                                  714 GREENSBORO AVENUE
                                                                     TUSCALOOSA, AL, 35401

                                                                                  205-349-3870
                                                                      magaria.bobo@alacourt.gov
                                             DOCUMENT 3
             Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 28 of 40


                                       AlaFile E-Notice




                                                                         63-CV-2017-900196.00


To: UTICA LEASECO, LLC
    44225 UTICA RD
    UTICA, MI, 48317




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

       TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                               63-CV-2017-900196.00

                      The following complaint was FILED on 2/17/2017 4:07:48 PM




    Notice Date:    2/17/2017 4:07:48 PM




                                                                   MAGARIA HAMNER BOBO
                                                                     CIRCUIT COURT CLERK
                                                             TUSCALOOSA COUNTY, ALABAMA
                                                                  714 GREENSBORO AVENUE
                                                                     TUSCALOOSA, AL, 35401

                                                                                  205-349-3870
                                                                      magaria.bobo@alacourt.gov
                                                                  DOCUMENT 4
                      Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 29 of 40
State of Alabama                        SUMMONS               Case Number:
Unified Judicial System                   - CIVIL -
                                                                                        63-CV-2017-900196.00
Form C-34 Rev 6/88


                         IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY
             TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                   INDUSTRIAL ASSETS CORP., 11426 VENTURA BLVD 2ND FL, STUDIO CITY, CA 91604
  NOTICE TO
  THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
  TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
  ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
  COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
  OPPOSING PARTY'S ATTORNEY JAMES S. WARD
  WHOSE ADDRESS IS 2100 SOUTHBRIDGE PARKWAY, SUITE 580, BIRMINGHAM, AL 35209


  THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO
  YOU OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS
  DEMANDED IN THE COMPLAINT.
  TO ANY SHERIFF OR ANY PERSONNEL AUTHORIZED by the Alabama Rules of the Civil Procedure:
     You are hereby commanded to serve this summons and a copy of the complaint in this action upon the defendant

    Service by certified mail of this summons is initiated upon the written request of      TRANSAMERICAN EQUIPMENT
                                                                                            COMPANY, LLC
    pursuant to the Alabama Rules of the Civil Procedure
  Date 2/17/2017 4:07:48 PM            /s/ MAGARIA HAMNER BOBO
                                       Clerk/Register
                                       714 GREENSBORO AVENUE
                                       TUSCALOOSA, AL 35401


                                                /s/ JAMES S. WARD
     Certified Mail is hereby requested
                                                Plaintiff's/Attorney's Signature

  RETURN ON SERVICE:
    Return receipt of certified mail received in this office on
     I certify that I personally delivered a copy of the Summons and Complaint to

                                  in                                               County, Alabama on
                                                                                                                   (Date)


  Date                                          Server's Signature                             Address of Server



  Type of Server                                Server's Printed Name

                                                                                               Phone Number of Server
                                                                  DOCUMENT 4
                      Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 30 of 40
State of Alabama                        SUMMONS               Case Number:
Unified Judicial System                   - CIVIL -
                                                                                        63-CV-2017-900196.00
Form C-34 Rev 6/88


                         IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY
             TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                   MAYNARDS INDUSTRIES USA LLC, CORPORATION TRUST CENTER 1209 ORANGE STREET, WILMINGTON, DE 19801
  NOTICE TO
  THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
  TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
  ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
  COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
  OPPOSING PARTY'S ATTORNEY JAMES S. WARD
  WHOSE ADDRESS IS 2100 SOUTHBRIDGE PARKWAY, SUITE 580, BIRMINGHAM, AL 35209


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  Date 2/17/2017 4:07:48 PM            /s/ MAGARIA HAMNER BOBO
                                       Clerk/Register
                                       714 GREENSBORO AVENUE
                                       TUSCALOOSA, AL 35401


                                                /s/ JAMES S. WARD
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                                                Plaintiff's/Attorney's Signature

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                                                                  DOCUMENT 4
                      Case 7:17-cv-00481-LSC Document 1 Filed 03/28/17 Page 31 of 40
State of Alabama                        SUMMONS               Case Number:
Unified Judicial System                   - CIVIL -
                                                                                         63-CV-2017-900196.00
Form C-34 Rev 6/88


                         IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY
             TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                   UTICA LEASECO, LLC, 44225 UTICA RD, UTICA, MI 48317
  NOTICE TO
  THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
  TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
  ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
  COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
  OPPOSING PARTY'S ATTORNEY JAMES S. WARD
  WHOSE ADDRESS IS 2100 SOUTHBRIDGE PARKWAY, SUITE 580, BIRMINGHAM, AL 35209


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                                                                                             COMPANY, LLC
    pursuant to the Alabama Rules of the Civil Procedure
  Date 2/17/2017 4:07:48 PM            /s/ MAGARIA HAMNER BOBO
                                        Clerk/Register
                                        714 GREENSBORO AVENUE
                                        TUSCALOOSA, AL 35401


                                                 /s/ JAMES S. WARD
     Certified Mail is hereby requested
                                                 Plaintiff's/Attorney's Signature

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     I certify that I personally delivered a copy of the Summons and Complaint to

                                  in                                                County, Alabama on
                                                                                                                    (Date)


  Date                                           Server's Signature                             Address of Server



  Type of Server                                 Server's Printed Name

                                                                                                Phone Number of Server
                         DOCUMENT 5
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                         DOCUMENT 5
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                         DOCUMENT 5
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                         DOCUMENT 6
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                         DOCUMENT 6
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                                        AlaFile E-Notice




                                                                            63-CV-2017-900196.00
                                                                    Judge: M. BRADLEY ALMOND
To: WARD JAMES STEVEN
    jward@wardwilsonlaw.com




                              NOTICE OF SERVICE
                  IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

        TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                                63-CV-2017-900196.00

                              The following matter was served on 3/7/2017

                               D002 MAYNARDS INDUSTRIES USA LLC
                                           Corresponding To
                                           CERTIFIED MAIL




                                                                     MAGARIA HAMNER BOBO
                                                                       CIRCUIT COURT CLERK
                                                               TUSCALOOSA COUNTY, ALABAMA
                                                                    714 GREENSBORO AVENUE
                                                                       TUSCALOOSA, AL, 35401

                                                                                   205-349-3870
                                                                       magaria.bobo@alacourt.gov
                         DOCUMENT 7
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                         DOCUMENT 7
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                                        AlaFile E-Notice




                                                                            63-CV-2017-900196.00
                                                                    Judge: M. BRADLEY ALMOND
To: WARD JAMES STEVEN
    jward@wardwilsonlaw.com




                              NOTICE OF SERVICE
                  IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

        TRANSAMERICAN EQUIPMENT COMPANY, LLC V. INDUSTRIAL ASSETS CORP. ET AL
                                63-CV-2017-900196.00

                              The following matter was served on 3/7/2017

                                     D003 UTICA LEASECO, LLC
                                           Corresponding To
                                           CERTIFIED MAIL




                                                                     MAGARIA HAMNER BOBO
                                                                       CIRCUIT COURT CLERK
                                                               TUSCALOOSA COUNTY, ALABAMA
                                                                    714 GREENSBORO AVENUE
                                                                       TUSCALOOSA, AL, 35401

                                                                                   205-349-3870
                                                                       magaria.bobo@alacourt.gov
